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                              Exhibit 1

  Exhibit Name              Title of Document                Page
  Exhibit 1-A               Declaration of Travis Voyles,    2, 3, 5, 6, 9
                            EPA Assistant Deputy
                            Administrator

  Exhibit 1-B                                                3, 6
                            Email from M. Wise re
                            termination template


  Exhibit 1-C               Sample Termination Letter        3, 6
                            with placeholders
  Exhibit 1-D                                                5, 9
                            Email from D. Coogan to T.
                            Voyles with list of grant
                            programs to terminate


  Exhibit 1-E               EPA Grant Termination SOP        6

  Exhibit 1-F               Declaration of Daniel            6
                            Coogan, EPA Office of
                            Mission Support Deputy
                            Assistant Administrator
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                         EXHIBIT 1-A

            Declaration of Travis Voyles

      EPA Assistant Deputy Administrator
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 1                 x   Grant #5 on Exhibit A to the Order, Grant #96272300 to Bronx River Alliance,

 2                     listed as “Termination in Progress”;

 3                 x   Grant #6 on Exhibit A to the Order, Grant #97T28901 to Earth Island Institute,

 4                     listed as “Termination in Progress”;

 5                 x   Grant #7 on Exhibit A to the Order, Grant #00A01479 to City of New Haven,

 6                     listed as “Termination in Progress”;

 7                 x   Grant #8 on Exhibit A to the Order, inadvertently identified as Grant

 8                     #0E+00000 to the City of Madison, and therefore incorrectly listed as

 9                     “Closed”, and which should be listed as Grant #00E05005 to the City of

10                     Madison, and “Termination in Progress”;

11
12                     and

13
14                 x   Grant #9 on Exhibit A to the Order, Grant #00A01441 to City of New Haven,

15                     listed as “Terminated”;

16                 x   Grant #10 on Exhibit A to the Order, Grant #95336801 to City of Baltimore,

17                     listed as “Terminated”;

18                 x   Grant #11 on Exhibit A to the Order, Grant #03D03424 to CleanAIRE NC,

19                     listed as “Terminated”;

20                 x   Grant #12 on Exhibit A to the Order, Grant #96229424 to Bronx River

21                     Alliance, listed as “Terminated”.

22
23          3.     On February 25, 2025, I conducted an individualized review of EPA grant programs

24   for consistency with Agency policy priorities. That day, I decided that certain grant programs,

25   identified by “Assistance Number Listing,” should be terminated for policy reasons. I orally

26   communicated my decision to Daniel Coogan, Deputy Assistant Administrator for Infrastructure

27   and Extramural Resources in the Office of Mission Support. That evening, Mr. Coogan sent an

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 1   email to me, copying others, documenting the decision I had made earlier that day. See Exhibit 1,

 2   Bates No. EPA_00289735.

 3          4.      On March 7, 2025, Mr. Coogan sent an email to leadership in the EPA Office of

 4   the Chief Financial Officer instructing them to put a financial control in the Automated Standard

 5   Application for Payments (ASAP) system for the grants that had been identified for termination.

 6   In a separate email, I elaborated that the purpose of the control was “to prevent any drawdowns in

 7   the time between announcement and execution [of grant termination] through [the Office of

 8   Mission Support].” See Exhibit 2, Bates No. EPA_00048219.

 9          5.       Later that day, staff in the EPA Office of the Chief Financial Officer executed my

10   instructions, and sent an email back to their leadership with an attached excel spreadsheet

11   verifying the programs they had subjected to the financial control, as well as a list of the

12   individual awards for which drawdowns had been frozen as a result. See Exhibit 3, Bates No.

13   EPA_00000735 and Exhibit 4, Bates No. EPA_00000739. Each of the grants listed in Paragraph

14   1 of this Declaration appears on that spreadsheet.

15          6.      Consistent with my instruction, throughout March, EPA began terminating the

16   grants I had originally identified for termination on February 25, 2025, while noting the need to

17   comply with court orders in various cases. See Exhibit 5, Bates No. EPA_00292053 and Exhibit

18   6, Bates No. EPA_00292054. Accordingly:

19                  x Grant #9 on Exhibit A to the Order, Grant #00A01441 to City of New Haven
20                      was terminated on March 27, 2025;

21                  x Grant #10 on Exhibit A to the Order, Grant #95336801 to City of Baltimore
22                      was terminated on March 26, 2025;

23                  x Grant #11 on Exhibit A to the Order, Grant #03D03424 to CleanAIRE NC,
24                      was terminated on March 28, 2025; and

25                  x Grant #12 on Exhibit A to the Order, Grant #96229424 to Bronx River
26                      Alliance, was terminated on March 28, 2025.

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 1          7.      The process of terminating grants while remaining in compliance with court

 2   orders continues today. See Exhibit 7, Decl. of Daniel Coogan filed in

 3   Woonasquatucket River Watershed Council et al. v. Department of Agriculture et al., 1:25-cv-

 4   00097 (D.R.I.), April 23, 2025, at para 5.

 5          8.      Accordingly, each of the grants identified in Paragraph 1 of this Declaration as

 6   “termination in progress” has not been terminated, and, as of the date of this Declaration, each of

 7   those recipients currently has access to draw down funding from ASAP.

 8          9.      In response to paragraph 4 of the April 29, 2025, Order, regarding Grant #15 on

 9   Exhibit A to the Order, Grant #0602.24.082555 to Alliance for the Shenandoah Valley, upon

10   further review, that grant is not from the U.S. Environmental Protection Agency. Therefore, I have

11   no information to provide regarding that grant.

12          10.     In response to paragraph 5 of the April 29, 2025, Order, regarding Grant #8 on

13   Exhibit A to the Order, as indicated in paragraph 1 of this Declaration above, Exhibit A

14   erroneously identified the subject grant as Grant #0E+00000 to the City of Madison, and as a

15   result incorrectly listed as the grant as “Closed.” Upon further review, the grant at issue is Grant

16   #00E05005 to the City of Madison, and its status is “Termination in Progress.” Funds are

17   currently available to the recipient.

18
19          I declare under penalty of perjury that the foregoing is true and correct.

20          Executed on this 6th day of May 2025.

21                                                 /s/                       Digitally signed by TRAVIS
                                                   TRAVIS                    VOYLES
22                                                                           Date: 2025.05.06 15:00:29
                                                   VOYLES                    -04'00'
23                                                 Travis Voyles
24                                                 Assistant Deputy Administrator
                                                   United States Environmental Protection Agency
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                         EXHIBIT 1-B

 Email from M. Wise re termination template
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                         EXHIBIT 1-C

              Sample Termination Letter

                     with placeholders
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                         EXHIBIT 1-D

Email from D. Coogan to T. Voyles with list of
              grant programs to terminate
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                         EXHIBIT 1-E

             EPA Grant Termination SOP
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                         EXHIBIT 1-F

            Declaration of Daniel Coogan,

EPA Office of Mission Support Deputy Assistant
                         Administrator
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 1                        DECLARATION OF DANIEL COOGAN
 2           I, Daniel Coogan, declare and state as follows:
 3           1.     I am the Deputy Assistant Administrator for Infrastructure and
 4     Extramural Resources in the Office of Mission Support, for the United States
 5     Environmental Protection Agency ("EPA") located at 1200 Pennsylvania Avenue,
 6     NW, Washington, D.C. 20460. I have been in my current position since December
 7     2023, and I have been at the agency since November 2004. I make the following
 8     factual statements based on my personal knowledge and belief. If called as a
 9     witness, I could and would competently testify thereto.
10           2.     During the transition between the last Presidential Administration and
11     the current Administration, EPA has limited activity on grant awards and actions so
12     career staff can brief the new Administration on the on-going grants and programs
13     and help the new Administration understand how the program aligns with their
14     priorities including ensuring the safeguard of Agency funds.
15           3.     As part of this effort, and distinct from any Executive Orders or OMB
16     memorandums, EPA leadership conducted an individualized, grant-by-grant review
17     to determine which grants should continue, which should be modified, and which
18     should be terminated based on alignment with Administration priorities or the
19     purposes for which the Federal award was made. EPA began this process for the
20     Administration in January 2025.
21           4.     The review process resulted in EPA continuing all Infrastructure
22     Investments and Jobs Act (“IIJA”) grants, which include 2,004 active grants totaling
23     $27.5 billion. Many Inflation Reduction Act (“IRA”) grants remain active following
24     review, including 979 active grants totaling $39.5 billion.
25           5.     The above review process occurred prior to the issuance of the
26     preliminary injunction on April 15, with decisions to terminate tranches of IRA
27     grants made on the following dates: February 13, March 3, March 10, and April 14.
28
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                                            Exhibit G
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 1     EPA is in the process of sending out the formal termination/cancellation notices to
 2     all of the impacted grantees. EPA has already sent out formal notices to
 3     approximately 377 grantees. For the remaining approximately 404 grantees, EPA
 4     plans to issue notices within the next two weeks.
 5           6.     EPA has only paused access to funding in Automatic Standard
 6     Application for Payments (“ASAP”) for recipients of the following IRA grant
 7     programs which are slated to be terminated as mentioned above: Environmental
 8     Justice Collaborative Problem-Solving Cooperative Agreement Program; Surveys,
 9     Studies, Investigations, Training and Special Purpose Activities Relating to
10     Environmental     Justice;   Environmental    Justice   Government-to-Government
11     (EJG2G) Program; Environmental Justice Small Grant Program; Financial
12     Assistance For Community Support Activities To Address Environmental Justice
13     Issues; Environmental Justice Thriving Communities Grantmaking Program (EJ
14     TCGM); Environmental and Climate Justice Block Grant Program; and Reducing
15     Embodied Greenhouse Gas Emissions for Construction Materials and Products.
16           7.     EPA understands the Court’s Order to require that all funds
17     appropriated under the IRA or IIJA be unfrozen unless there is a pre-existing
18     determination (from before entry of the preliminary injunction) to pause that funding
19     on an individualized basis for some other, independent reason (i.e., apart from the
20     fact that it was appropriated under the IRA or IIJA). The above still-paused, soon-
21     to-be-terminated IRA grants meet those criteria. Accordingly, EPA believes that
22     continued pauses of those grants complies with the Court’s Order. EPA is not
23     “freezing, halting, or pausing on a non-individualized basis the processing and
24     payment of funding that (1) was appropriated under the Inflation Reduction Act or
25     the Infrastructure Investment and Jobs Act and (2) has already been awarded.”
26     Woonasquatucket River Watershed Council v. United States Dep't of Agric., No.
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 1     1:25-cv-00097-MSM-PAS, 2025 U.S. Dist. LEXIS 71378 (D.R.I. Apr. 15, 2025)
 2     (order granting preliminary injunction).
 3           8.     Despite the current pause on these grants, EPA will still reimburse all
 4     costs incurred prior to the grant formally being terminated, once recipients submit
 5     final invoices as part of the grant close-out process as detailed in the grant
 6     termination letter and at 2 CFR § 200.334.
 7           9.     Restoring access to the paused grants would expose EPA and taxpayers
 8     to tremendous risk as recipients would have the ability to draw-down large portions
 9     of grant funding in ASAP, and could believe that they have an incentive to make
10     such draws if they believed the pause on the suspension was temporary. Recouping
11     these funds upon termination of the grants would be difficult.
12           I declare under penalty of perjury that the foregoing is true and correct.
13
14                                                    DANIEL       Digitally signed by
                                                                   DANIEL COOGAN
                                                                   Date: 2025.04.23
15                                                    COOGAN       10:45:40 -04'00'

                                                      Daniel Coogan
16                                                    Deputy Assistant Administrator for
17                                                    Infrastructure and Extramural
                                                      Resources
18                                                    Office of Mission Support
                                                      U.S. Environmental Protection
19                                                    Agency
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